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                         IN THE UNITED STATES BANKRUPTCY COURT                                                         -

                                  FOR THE DISTRICT OF DELAWARE


In re:                                                    ) Chapter 11

KONA GRILL,INC., et a1.,1                                 ) Case No.: 19-10953 ~)
                                                            Joint Administration Requested
                                    llebtors.             )



   MOTION FOR THE ENTRY OF AN ORDER AUTHORIZING THE DEBTORS TO
   (A)RE3ECT CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES
    PURSUANT TO 11 U.S.C. § 365,(B) ABANDON ANY REMAINING PEI~iSONAL
         PROPERTY LOCATED AT THE LEASED PREMISES PURSUANT TO
   11 U.S.C. § 554; AND(C)FIX A BAR DATE FOR CLAIMS OF COUNTERPARTIES

         IF YOU HAVE I2~CEIVED THIS 1VIOTION AND ARE A COUNTERPARTY TO AN
 AGREEMENT WITH KONA GRILL,INC. OR ANY OF ITS DEBTOR AFFILIATES LISTED
  BELO~'V,PLEASE Z~EVIE~'V THIS MOTION IN ITS ENTIRETY,INCLUDING EXHIBIT A
 ATTACHED HERETO,TO DETERII'IINE IF THIS MOTION AFFECTS YOUR AGRE~MTNT
                        AND YOUR RIGHTS THEREUNDER


                    The above-captioned debtors and debtors in possession (the "Debtors") hereby

file this motion (the "Motion") for entry of an order, (a) authorizing the rejection of certain

executory contracts listed on Exhibit A hereto (the "Rejected Contracts") and certain unexpired

leases of non-residential real property (the "Reiected Leases") for certain of the premises leased

by the Debtors (collectively, the "Leased Premises"), each as set forth on Exhibit B hereto,

effective as of the date listed on each exhibit(the "Resection Effective Date"),(b) authorizing the

Debtors to abandon any remaining personal property located at the Leased Premises, and

' The Debtors and the last four digits of their respective taxpayer identification numbers include: Kona Grill, Inc.
 (6690); Kona Restaurant Holdings, Inc. (6703); Kona Sushi, Inc. (4253); Kona Macadamia, Inc. (2438); Kona
  Texas Restaurants, Inc.(4089); Kona Grill International Holdings, Inc. (1841); Kona Baltimore, Inc.(9163); Kona
  Grill International, Inc.(7911); and Kona Grill Puerto Rico, Inc.(7641). The headquarters and service address for
  the above-captioned Debtors is 15059 North Scottsdale Road, Suite 300, Scottsdale, Arizona 85254.


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Rejected Lease (the "Counterparties"). In support of this Motion, the Debtors respectfully

represent as follows:

                                              Jurisdiction

                     1.   The United States Bankruptcy Court for the District of Delaware (the

"Court") has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of~RefeNence fNom the United States District CourtfoN the District of

Delaware, dated February 29, 2012. This matter is a core proceeding within the meaning of 28

U.S.C. § 157(b)(2), and the Debtor confirms its consent pursuant to Rule 9013-1(~ of the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delaware (the "Local Rules") to the entry of a final order by the Court in connection

with this Motion to the extent that it is later determined that the Court, absent consent of the

parties, cannot enter final orders or judgments in connection herewith consistent with Article III

of the United States Constitution.

                     2.   Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                     3.   The statutory and rule predicates for the relief sought herein are sections

365(a) and 554(a) of title of the United States Code (the `Bankruptcy Code") and Rules 6006

and 6007 of the Federal Rules of Bankruptcy Procedure (the `Bankruptcy Rules").

                                              Background

                     4.   On the date hereof (the "Petition Date"), the Debtors commenced these

cases by filing voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The

Debtors have continued in the possession of their property and have continued to operate and

manage their business as debtors in possession pursuant to sections 1107(a) and 1108 of the


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 Bankruptcy Code. No trustee, examiner or committee has been appointed in the Debtors'

 chapter 11 cases.

                    5.     The factual background regarding the Debtors, including their current and

 historical business operations and the events precipitating their chapter 11 filings, is set forth in

 detail in the Declaration of Christopher J. Wells, ChiefResty~ucturing Officer in SuppoNt ofFirst

 Day Pleadings (the "First Day Declaration") filed concurrently herewith and fully incorporated

 herein by referenceZ.

                                                Relief Requested

                    6.     Through this Motion, the Debtors seek the entry of an order, pursuant to

 section 365 of the Bankruptcy Code and Bankruptcy Rule 6006,(a) authorizing and approving

 the Debtors' rejection of the Rejected Contracts and Rejected Leases, effective as of the

 Rejection Effective Date indicated on Exhibits A and B hereto3,(b) authorizing the Debtors to

 abandon arly personal property located at the Leased Premises on the Rejection Effective Date,

 and (c) fixing a bar date for claims, if any, of the Counterparties to each Rejected Contract and

 Rejected Lease. As set forth in detail below, the relief requested herein is in the best interest of

 the Debtors' estates and creditors because (a) as to the Rejected Contracts, the Debtors no longer

 require the equipment and/or services provided by the Rejected Contracts, and the Debtors, in the

 exercise of their business judgment, do not believe that that the Rejected Contracts have any net

 value to the Debtors' estates and (b) as to the Rejected Leases, the Debtors have ceased or will

 cease operations at the Leased Premises, have no further use for the Leased Premises, have

'Capitalized teen used but not otherwise defined he~•ein shall have the meanings ascribed to them in the First Day
 Declaration.
   The Debtors reserve all rights with respect to the characterization of the Rejected Contracts and Rejected Leases
 and any i-ejectiou or other damages that may be asserted.


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vacated or will vacate each of the Leased Premises by the Rejection Effective Date and the

Debtors, in the exercise of their business judgment, do not believe that that the Rejected Leases

have any net value to the Debtors' estates.

                   7.   To the extent notice of the Debtors' intention to reject the Rejected

Contracts and Rejected Leases has not been previously provided or to the extent not previously

rejected by the Debtors, the filing and service of this Motion shall serve as notice to the

Counterparties of the Debtors' intention to reject the Rejected Contracts listed on Exhibit A

hereto and the Rejected Leases listed on Exhibit B hereto.

                                          Basis for Relief

                   8.   Section 365(a) of the Bankruptcy Code provides that a trustee or debtor in

possession, "subject to the court's approval, may ... reject any executory contract or unexpired

lease of the debtor." 11 U.S.C. § 365(a); see also Univ. Med. Ct~. v. Sullivan (In re Univ. Med.

Ct~.), 973 F.2d 1065, 1075 (3d Cir. 1992). "This provision allows a trustee to relieve the

bankruptcy estate of burdensome agreements which have not been completely performed."

Stewart Title Guar. Co. v. Old Republic Nat'l Title Co., 83 F.3d 735, 741 (5th Cir. 1996)(citing

In Ne MueNexco Petroleum, Inc., 15 F.3d 60,62(5th Cir. 1994)).

                   9.   The decision to assume or reject an executory contract or unexpired lease

is a matter within the "business judgment" of the trustee. See NLRB v. I3ildisco (In Ne Bildisco),

682 F.2d 72, 79 (3d Cir. 1982)("The usual test for rejection of an executory contract is simply

whether rejection would benefit the estate, the `business judgment' test."); In re Taylor°, 913 F.2d

102, 107 (3d Cir. 1990); see also In Ne Fedei°al Mogul Global, Inc., 293 B.R. 124, 126 (D. Del.

2003); In re HQ Global I-Ioldings, 290 B.R. 507, Sll (Banlcr. D. Del. 2003). The business


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judgment standard mandates that a court approve a trustee's business decision unless the

decision is the product of bad faith, whim or caprice. See In ~e TNans World Airlines, Inc.,

261 B.R. 103, 121 (Bankr. D. Del. 2001); see also Summit Land Co. v. Allen (In Ne Summit Land

Co.), 13 B.R. 310, 315 (Bankr. D. Utah 1981) (absent extraordinary circumstances, court

approval of a debtor's decision to assume or reject an executory contract "should be granted as a

matter of course")

                    10.   Rejection of an executory contract or unexpired lease is appropriate where

rejection of the contract would benefit the estate. See Sharon Steel Copp. v. Nat'l Fuel Gas

DistNibution Corp. (In re Shallon Steel Corp.), 872 F2d 36, 40 (3d Cir. 1989). The standard for

rejection is satisfied when a trustee or debtor has made a business determination that rejection

will benefit the estate. See ComnzeNcial Fin. Ltd. v. Hawaii Dimensions, Inc. (In re Hawaii

Dirycensions, Inc.), 47 B.R. 425, 427(D. Haw. 1985)("under the business judgment test, a court

should approve a debtor's proposed rejection if such rejection will benefit the estate.").

                    11.   If the trustee's or debtor's business judgment has been reasonably

exercised, a court should approve the assumption or rejection of an unexpired lease or executory

contract. See, e.g., NLRB v. Bildisco & Bildisco, 462 U.S. at 523 (1984); In ~e Federal Mogul

Global, Inc., 293 B.R. 124, 126(D. Del. 2003).

                    12.   In applying the business judgment standard, courts show great deference

to the trustee's or debtor's decisions to reject. See e.g., NRL13 V. 13ildisco & Bildisco, 462 U.S. at

523 (1984); In ~~e Federal Mogul Global, Inc., 293 B.R. 124, 126 (D. Del. 2003)(court should

approve a debtor's decision to reject a contract unless that decision is the product of bad faith or

a gross abuse of discretion); Sumi~~it Land Co. v. Allen (In. i^e Sunzi~~it Land Co.), 13 B.R. 310,


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315 (Bankr. D. Utah 1981) (absent extraordinary circumstances, court approval of a debtor's

decision to assume or reject an executory contract "should be granted as a matter of course").

                   13.   Pursuant to section 365(a) of the Bankruptcy Code, the Debtors seek to

reject the Rejected Contracts and Rejected Leases effective as of the Rejection Effective Date in

order to avoid the possibility of incurring any additional expenses and costs. See NLRB v.

Bildisco & Bildisco, 465 U.S. 513, 530 (1984)(stating that rejection relates back to the petition

date). Furthermore, a court may permit retrospective rejection to avoid unduly exposing a

debtor's estate to unwarranted postpetition administrative or other expenses. See In re Amber's

StoNes, Inc., 193 B.R. 819, 827(N.D. Tex. 1996); see also In re Thinking Mach. Corp., 67 F.3d

1021, 1028 (1St Cir. 1995) ("bankruptcy courts may enter retroactive orders of approval, and

should do so when the balance of equities preponderates in favor of such remediation."); In Ne

Jamesway Corp., 179 B.R. 33, 37-38 (S.DN.Y. 1995)(affirming bankruptcy court's retroactive

approval of lease rejection); see also In re CCI Wireless, LLC,297 B.R. 133, 140(D. Col. 2003)

(holding that a bankruptcy court "has authority under section 365(d)(3) to set the effective date

of rejection at least as early as the filing date of the motion to reject")

                   14.   The relief requested herein is in the best interest of the Debtors' estates

and creditors because the Debtors no longer require the equipment and/or services provided by

the Rejected Contracts, and the Debtors, in the exercise of their business judgment, do not

believe that that there is any remaining net economic value in the Rejected. Contracts. Moreover,

the Debtors have determined in the exercise of their business judgment that the Rejected

Contracts are burdensome to the Debtors. The cost to the Debtors of continuing to perform their

obligations under the Rejected Conhacts and incurring unnecessary administrative expenses will


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exceed any realistic value that can be realized for the Debtors' estates, and rejection of the

Rejected Contracts is thus in the best interests of the Debtors' estates and creditors.

                   15.       The Debtors seek to reject the Rejected Leases, in accordance with

principles of sound business judgment, based on the belief that the Rejected Leases are, and will

continue to be, a burden to the Debtors' estates. The Debtors have terminated their operations at

the particular stores subject to the Rejected Leases, have no further use for and have vacated or

will vacate the Leased Premises, and the Rejected Leases no longer provide any economic

benefit to the Debtors in connection with their operations at such locations. Additionally, the

Debtors have determined, in their reasonable business judgment, that there is no net value that

can be realized from an attempt to market and assign the Rejected Leases.4 As a result, the

Debtors have determined that the cost to the Debtors of continuing to occupy the Leased

Premises under the Rejected Leases, and of performing their obligations under the Rejected

Leases and incurring unnecessary administrative expenses, will exceed any realistic sales price,

and that rejection of the Rejected Leases is thus in the best interests of the Debtors' estates and

creditors. Finally, the Debtors do not believe that the value of any Rejected Lease will increase

in the immediate future. For all of the above reasons, the Debtors submit that rejection of the

Rejected Leases is in the best interests of the Debtors' estates and creditors, and other parties in

interest.




~ The Debtors reserve all of their rights with respect to the determination of whether any Rejected Lease has been or
will have been terminated or breached. In eitheT~ event, the Debtors do not believe that assumptio~~ of the Rejected
Leases is in tl~e best interests of their• estates ol• their creditors and thus seek to reject the Rejected Leases pursuant to
this Motion.


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                      16.   The Debtors may have claims against the Counterparties arising under, or

independently of, the Rejected Contracts and Rejected Leases. The Debtors do not waive such

claims by the filing of this Motion or by the rejection of the Rejected Leases.

Abandonment of Remaining Personal Property

                      17.   As discussed above, the Debtors have ceased operations at the locations

subject to the Rejected Leases. The Debtors believe that they removed all of their owned

personal property assets (the "Remaining Personal Property") currently located at the Leased

Premises. However, out of an abundance of caution and solely to the extent that they retained

any ownership interest in any Remaining Personal Property, the Debtors seek authority to

abandon any Remaining Personal Property assets that remain at the store locations subject to the

Rejected Leases as ofthe Rejection Effective Date.

                      18.   The Debtors seek to abandon any Remaining Personal Property assets

described above as is, where is, and in accordance with section 554(a) of the Bankruptcy Code.

Section 554(a) provides that "[a]fter notice and a hearing, the trustee may abandon any property

of the estate that is burdensome to the estate or that is of inconsequential value and benefit to the

estate." 11 U.S.C. § 554(a). The Debtors believe that the costs associated with liquidating any

Remaining Personal Property at the Leased Premises on the Rejection Effective Date will likely

approach or exceed the value of such assets.            Accordingly, the Debtors believe that the

Remaining Personal Property at the Leased Premises, if any, have inconsequential value to the

Debtors' estates and should be abandoned. as of the Rejection Effective Date.




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                                         Claims Bar Date

                   19.   As set forth above, the Counterparties may seek to assert a rejection

damage claim under section 502 of the Bankruptcy Code or other claims in connection with the

Rejected Contracts and Rejected Leases. The Debtors further request by this Motion that the

Court fix a claims bar date with respect to the Rejected Contracts and Rejected Leases of the

later of(a) thirty (30) days after entry of an order granting the Motion, or (b) the general claims

bar date to be established by subsequent order of the Court, failing which such claim or claims

by the Counterparty shall be forever barred.

                   20.   Rule 3003(c)(3) of the Federal Rules of Bankruptcy Procedure (the

          ~")provides: "[t]he court shall fix ...the time within which proofs of claim
"Bankruptc.

may be filed." Bankruptcy Rule 2002(a)(7) requires at least twenty-one days' notice by mail of

the time fixed for filing proofs of claim and. interest pursuant to Bankruptcy Rule 3003(c)(3).

                   21.   The Debtors request that the Court, in accordance with Bankruptcy Rule

3003(c)(3), establish a bar date that is the later of (a) thirty (30) days after entry of an order

granting the Motion, or (b) the general claims bar date to be established by subsequent order of

the Court, failing which such claim or claims by the Counterparty shall be forever barred.

                   22.   The Debtors will give notice of such bar date to the Counterparties by

service of the Order approving this Motion and fixing such bar date. The Debtors will serve such

order within three (3) business days of its entry, thereby satisfying the requirements of

Bankruptcy Rule 2002(a)(7). The Debtors reserve any and all rights to object to any rejection

damage claims or other claims filed by any Counterparty.




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                                                  Notice

                      23.   Notice of this Motion shall be given to the following parties or, in lieu

thereof, to their counsel, if known: (a) the Office of the United States Trustee; (b) Key Bank

National Association and Zions Bank,(c) parties asserting liens against the Debtors' assets, and

(d) the Debtors' thirty largest unsecured creditors on a consolidated basis. The Debtors submit

that, in light of the nature of the relief requested, no other or further notice need be given.

                                            No Prior• Request

                      24.   No previous request for the relief sought herein has been made to this or

any other Court.




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                    WHEREFORE, the Debtors respectfully request that the Court enter an order,

substantially in the form attached hereto, (i) granting the Motion,(ii) approving the rejection of

the Rejected Contracts effective as of the Rejection Effective Date; (iii) approving the rejection

of the Rejected Leases effective as of the Rejection Effective Date,(iv) authorizing the Debtors

to abandon any Remaining Personal Property at the Leased Premises on the Rejection Effective

Date; (v) fixing a bar date for filing claims, if any, of the Counterparties to the Rejected

Contracts and Leases; and (v) granting such other and further relief as the Court may deem

proper.

Dated:                 °~ ~,2019           PACHULSKI STANG ZIEHL &JONES LLP



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                                                              p~
                                                  V. Richards(CA Bar No. 102300)
                                           J me E. O'Neill(DE Bar No. 4042)
                                           John'~W. Lucas(CA Bar No. 271038)
                                                                   'Floor
                                           919 N. Market Street, 17tj
                                           Wilmington, DE 91899
                                           Tel: (302)652-4100
                                           Fax:(302)652-4400
                                           E-mail: jrichards@pszjlaw.com
                                                   joneill@pszjlaw.com
                                                   jlucas@pszjlaw.com

                                           Proposed Attorneys for Debtors and Debtors in
                                           Possession




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